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                              UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFORNIA



  IN RE FACEBOOK, INC. CONSUMER                         MDL No. 2843
                                                        Case No. 18-md-02843-VC
  PRIVACY USER PROFILE LITIGATION

                                                        PRETRIAL ORDER NO. 32: CASE
  This document relates to:                             MANAGEMENT SCHEDULE

  ALL ACTIONS


        Below are the deadlines leading up to the plaintiffs’ anticipated motion for class

certification. The remaining case schedule will be set at a further case management conference

after the motion for class certification is heard.


   December 10, 2019                                      Initial disclosures
     October 2, 2020                     Substantial completion of document production
   December 18, 2020                             Deadline for amending pleadings
    January 22, 2021                                    Close of fact discovery
                              Disclosure of Plaintiffs’ expert witnesses and service of related expert
    February 12, 2021
                                                               reports

                                Disclosure of Defendants’ expert witnesses and service of related
     March 26, 2021
                                                        expert reports

                             Disclosure of Plaintiffs’ rebuttal expert witnesses and service of related
      April 16, 2021
                                                           expert reports
      May 14, 2021                                    Close of expert discovery
      June 11, 2021                                  Motion for class certification
       July 9, 2021                         Opposition to motion for class certification
     August 6, 2021                      Reply in support of motion for class certification
   September 22, 2021                        Hearing on motion for class certification
    October 20, 2021                Deadline to file updated joint case management statement
    October 27, 2021                           Further case management conference
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       As for the plaintiffs’ request for streamlined protocol for briefing discovery disputes: If

the Court’s standing order is insufficient, the parties may propose something different.



       IT IS SO ORDERED.


Dated: December 13, 2019
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge




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